           IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                     MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION

IN RE:                                    )     CASE NUMBER: 20-01115-RSM
   THOMAS WILLIAM PRIGNANO                )         CHAPTER: 13
             AND                          )
    TOMME NOELLE PRIGNANO                 )
           Debtors                        )

                NOTICE OF CHANGE OF DEBTOR’S ADDRESS

      COMES NOW the debtors, by and through counsel, and hereby
gives notice that his/her/their mailing address has changed as follows:

NEW ADDRESS:          THOMAS WILLIAM PRIGNANO
                      AND
                      TOMME NOELLE PRIGNANO
                      238 PARKER STREET
                      MANCHESTER, CT 06040

      I certify that on this day, I served the Trustee, HENRY EDWARD
HILDEBRAND, III P. O. BOX 340019 NASHVILLE, TN 37203 with a copy of the
'Debtor's Change of Address', by electronic case filing. I certify that I served the
Debtor a copy of this Debtor's Change of Address by placing a true copy of the
same in the United States Mail with adequate postage affixed to insure delivery
addressed to:
NEW ADDRESS:                                  OLD ADDRESS:
THOMAS WILLIAM PRIGNANO                       THOMAS WILLIAM PRIGNANO
AND                                           AND
TOMME NOELLE PRIGNANO                         TOMME NOELLE PRIGNANO
238 PARKER STREET                             107 EMILY WAY
MANCHESTER, CT 06040                          HARTFORD, CT 06107

THIS CHANGE OF ADDRESS WAS FURNISHED BY:
                               Ryan Lloyd, Attorney for Debtor
                      Dated: 7/22/2020

                                /s/Ryan Lloyd, TBN
                               Ryan Lloyd
                               CLARK & WASHINGTON, LLC
                               Attorney for Debtor(s)
                               237 French Landing
                               Nashville, TN 37228
                               615-251-9782; Fax 615-251-8919



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